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    AO 245B (CASO Rev. 1/19) Judgment in a Criminal Case


                                             UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF CALIFORNIA
                 UNITED STATES OF AMERJCA                               JUDGMENT IN A CRIMINAL CASE
                                        V.                             (For Offenses Committed On or After November I, 1987)
                        JESSICA RENDON (1)
                                                                           Case Number:        3:20-CR-00891-JLS

                                                                        Marc B. Geller
                                                                        Defendant's Attorney
    USM Number                          71852-298
    • -
    THE DEFENDANT:
    ~    pleaded guilty to count(s)           One of the Information

    D    was found guilty on count(s)
         after a plea of not guilty.
    Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):


    Title and Section / Nature of Offense                                                                                 Count
    18:751(a), 4082(a) - Escape from Federal Custody                                                                          1




         The defendant is sentenced as provided in pages 2 through
                                                                      - - -2- - - of this judgment.
    The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
    D    The defendant has been found not guilty on count(s)

    D    Count(s)                                                 is          dismissed on the motion of the United States.

.   ~    Assessment: $100.00-Waived


    D    JVT A Assessment* : $

         *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
    ~    No fine                       D Forfeiture pursuant to order filed                                       , included herein.
           IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
    judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
    any material change in the defendant's economic circumstances.

                                                                        Amil 17. 2020
                                                                        Date of Imposition of Sentence



                                                                        HON. JANIS L. SAMMARTINO
                                                                        UNITED STATES DISTRICT JUDGE
           Case 3:20-cr-00891-JLS Document 28 Filed 04/17/20 PageID.31 Page 2 of 2
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

DEFENDANT:                 JESSICA RENDON (1)                                                      Judgment - Page 2 of 2
CASE NUMBER:               3 :20-CR-00891-JLS

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 Time Served




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 •     The court makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant must surrender to the United States Marshal for this district:
       •     at                             A.M.              on
                                                                   -------------------
       •     as notified by the United States Marshal.

       The defendant must surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
       •     on or before
       •     as notified by the United States Marshal.
       •     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant deli vered on                                           to
                                 --------------                               --------,---------
 at                                       , with a certified copy of this judgment.
      - - -- - - - - - - - -


                                                                   UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL



                                                                                                   3 :20-CR-00891-JLS
